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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 CLARENCE JENKINS,

        Petitioner,

 v.                                                      CASE NO: 8:04-CV-2546-T-30EAJ
                                                            Crim. Case No: 8:03-CR-184-T-30EAJ
 UNITED STATES OF AMERICA,

       Respondent.
 ____________________________________/


                                           ORDER

        THIS CAUSE came before the Court on August 25, 2006, for an evidentiary hearing

 on the factual issue of whether Petitioner told his attorney within ten days following entry

 of Judgment that he wished to file a direct appeal.

        After hearing and reviewing the evidence, the Court determines that Petitioner was

 sentenced in this matter on December 12, 2003. Approximately one month after being

 sentenced, Petitioner spoke to another prisoner who claimed to have received a substantially

 lower sentence based on similar drug quantity and circumstances. That conversation took

 place on or shortly before January 14, 2004. On January 14, 2004, Petitioner called his

 attorney, Elton Gissendanner, III, and requested that an appeal be filed. Mr. Gissendanner

 explained that the ten day appeal period had expired and it was too late to file an appeal.

        This Court finds that Petitioner did not ask for a direct appeal to be filed until January

 14, 2004. A direct appeal was time-barred at that time. Therefore, the Court now denies
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 Ground One of Petitioner’s §2255 petition.

           It is ORDERED AND ADJUDGED:

           1.        The Clerk is directed to enter Judgment in favor of the Respondent and against

                     the Petitioner in this matter.

           2.        The Clerk is directed to terminate all pending motions and CLOSE this file.

           DONE and ORDERED in Tampa, Florida on August 25, 2006.




 Copies furnished to:
 Counsel/Parties of Record
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